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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          CHARLES P. HARVEY                 ,           Case No. 3:22-cv-01606-JSC
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          COINBASE, INC.                    ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Erika L. Nusser              , an active member in good standing of the bar of

                                  11   Washington                             , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Charles P. Harvey                    in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Michael F. Ram                      , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         104805

                                  16   936 N. 34th Street, St 300, Seattle,WA 98103        711 Van Ness Ave. Ste. 500, San Francisco, CA94102
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (206) 816-6603                                       415-358-6913
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       enusser@terrellmarshall.com                          mram@forthepeople.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 40854                   .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                     0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: March 21, 2022                                         Erika L. Nusser
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Erika L. Nusser                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
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    IN THE SUPREME COURT OF THE STATE OF WASHINGTON

                                                           )
      IN THE MATTER OF THE ADMISSION                       )                    BAR NO. 40854
                                                           )
                           OF                              )                    CERTIFICATE
                                                           )
                   ERIKA L. NUSSER                         )                           OF
                                                           )
TO PRACTICE IN THE COURTS OF THIS STATE                    )                  GOOD STANDING
                                                           )
____________________________________________



          I, Sarah R. Pendleton, Deputy Clerk of the Supreme Court of the State of Washington, hereby
certify


                                           ERIKA L. NUSSER

was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Court and all the

Courts of the State of Washington on November 18, 2008, and is now and has continuously since that

date been an attorney in good standing, and has a current status of active.



                                                       IN TESTIMONY WHEREOF, I have
                                                       hereunto set my hand and affixed
                                                       the seal of this Court on the 8th day of
                                                       March, 2022.



                                                       Sarah R. Pendleton
                                                       Supreme Court Deputy Clerk
                                                       Washington State Supreme Court
